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                                                           January 8, 2020

   VIA ECF
   Honorable Nancy Joseph
   United States Courthouse, Room 253
   517 East Wisconsin Avenue
   Milwaukee, WI 53202


                     Re:       Crafton Moore v. State Farm Fire and Casualty Company
                               Eastern District of Wisconsin Case No 18-CV-00539

   Dear Judge Joseph:

           We represent State Farm Fire & Casualty Company in the above-reference matter. We write to
   formally request an extension of the deadline to file the 26(a)(3) submissions, inclusive of the proposed
   Special Verdict, proposed Voir Dire, proposed Jury Instructions and Motions in Limine. We have conferred
   with Attorney Nathanial Cade, who does not oppose an extension as follows:

            •        The Parties have until January 14, 2020 to file all 26(a)(3) submissions, inclusive of the
                     proposed Special Verdict, proposed Voir Dire, proposed Jury Instructions and Motions in
                     Limine.

            •        Any opposition to the Rule 26(a)(3) submissions are due January 20, 2020.

           The remaining dates on the Court’s June 25, 2019 Order [Doc # 42] will remain unchanged. Should
   the Court need any additional information to address our request for an extension, please do not hesitate to
   contact us.


                                                           Very truly yours,




                                                           April K. Toy

   cc:      Nathaniel Cade , Jr. (via ECF)




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